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Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 4 of 97. PageID #: 392987
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 5 of 97. PageID #: 392988
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 6 of 97. PageID #: 392989
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 7 of 97. PageID #: 392990
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 8 of 97. PageID #: 392991
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 9 of 97. PageID #: 392992
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 10 of 97. PageID #: 392993
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 11 of 97. PageID #: 392994
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 12 of 97. PageID #: 392995
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 13 of 97. PageID #: 392996
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 14 of 97. PageID #: 392997
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 15 of 97. PageID #: 392998
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 16 of 97. PageID #: 392999
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 17 of 97. PageID #: 393000
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 18 of 97. PageID #: 393001
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 19 of 97. PageID #: 393002
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 20 of 97. PageID #: 393003
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 21 of 97. PageID #: 393004
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 22 of 97. PageID #: 393005
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 23 of 97. PageID #: 393006
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 24 of 97. PageID #: 393007
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 25 of 97. PageID #: 393008
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 26 of 97. PageID #: 393009
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 27 of 97. PageID #: 393010
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 28 of 97. PageID #: 393011
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 29 of 97. PageID #: 393012
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 30 of 97. PageID #: 393013
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 31 of 97. PageID #: 393014
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 32 of 97. PageID #: 393015
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 33 of 97. PageID #: 393016
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 34 of 97. PageID #: 393017
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 35 of 97. PageID #: 393018
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 36 of 97. PageID #: 393019
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 37 of 97. PageID #: 393020
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 38 of 97. PageID #: 393021
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 39 of 97. PageID #: 393022
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 40 of 97. PageID #: 393023
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 41 of 97. PageID #: 393024
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 42 of 97. PageID #: 393025
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 43 of 97. PageID #: 393026
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 44 of 97. PageID #: 393027
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 45 of 97. PageID #: 393028
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 46 of 97. PageID #: 393029
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 47 of 97. PageID #: 393030
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 48 of 97. PageID #: 393031
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 49 of 97. PageID #: 393032
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 50 of 97. PageID #: 393033
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 51 of 97. PageID #: 393034
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 52 of 97. PageID #: 393035
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 53 of 97. PageID #: 393036
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 54 of 97. PageID #: 393037
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 55 of 97. PageID #: 393038
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 56 of 97. PageID #: 393039
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 57 of 97. PageID #: 393040
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 58 of 97. PageID #: 393041
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 59 of 97. PageID #: 393042
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 60 of 97. PageID #: 393043
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 61 of 97. PageID #: 393044
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 62 of 97. PageID #: 393045
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 63 of 97. PageID #: 393046
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 64 of 97. PageID #: 393047
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 65 of 97. PageID #: 393048
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 66 of 97. PageID #: 393049
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 67 of 97. PageID #: 393050
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 68 of 97. PageID #: 393051
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 69 of 97. PageID #: 393052
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 70 of 97. PageID #: 393053
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 71 of 97. PageID #: 393054
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 72 of 97. PageID #: 393055
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 73 of 97. PageID #: 393056
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 74 of 97. PageID #: 393057
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 75 of 97. PageID #: 393058
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 76 of 97. PageID #: 393059
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 77 of 97. PageID #: 393060
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 78 of 97. PageID #: 393061
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 79 of 97. PageID #: 393062
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 80 of 97. PageID #: 393063
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 81 of 97. PageID #: 393064
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 82 of 97. PageID #: 393065
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 83 of 97. PageID #: 393066
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 84 of 97. PageID #: 393067
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 85 of 97. PageID #: 393068
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 86 of 97. PageID #: 393069
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 87 of 97. PageID #: 393070
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 88 of 97. PageID #: 393071
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 89 of 97. PageID #: 393072
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 90 of 97. PageID #: 393073
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 91 of 97. PageID #: 393074
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 92 of 97. PageID #: 393075
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 93 of 97. PageID #: 393076
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 94 of 97. PageID #: 393077
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 95 of 97. PageID #: 393078
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 96 of 97. PageID #: 393079
Case: 1:17-md-02804-DAP Doc #: 2389-1 Filed: 08/14/19 97 of 97. PageID #: 393080
